      Case 4:22-cv-03096 Document 33 Filed on 10/17/22 in TXSD Page 1 of 3
                                                                                                   United States District Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                                 UNITED STATES DISTRICT COURT                                         October 17, 2022
                                  SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                      HOUSTON DIVISION


KONNECH INC.,                                            §
                                                         §
          Plaintiff,                                     §
                                                         §
VS.                                                      §    CIVIL ACTION NO. 4:22-CV-03096
                                                         §
TRUE THE VOTE INC., et al.,                              §
                                                         §
          Defendants.                                    §

               ORDER DIRECTING DEFENDANTS TO APPEAR AND
           SHOW CAUSE WHY THEY SHOULD NOT BE HELD IN CONTEMPT

                                                        I.
        On September 12, 2022, the Court entertained an ex parte temporary restraining order

[“TRO”] [DE 9]1, that arises as a result of the plaintiff’s, Konnech, Inc., [“Konnech”], original

complaint [DE 1] and motion for a temporary restraining order and request for a preliminary

injunction [DE 5]. The Court granted Konnech’s motion for a TRO.

                                                        II.

        After a review of the tendered documents, the Court determined that a TRO should issue

against the defendants, True the Vote, Inc., Gregg Phillips and Catherine Engelbrecht, because the

documents presented and the arguments of counsel substantiated Konnech’s claims that: (a) there

is a substantial likelihood that Konnech will succeed on the merits of its claims; (b) immediate and

irreparable injury or harm will be suffered by Konnech if a TRO were not issued: (1) in that the

defendants have obtained unauthorized access to Konnech’s protected computers and/or data and


1
 Konnech filed a motion for emergency consideration of its request for a preliminary injunction and for contempt
[DE 17]. Consideration of that motion is subsumed in this order to show cause. A preliminary injunction will issue
shortly.
1/3
       Case 4:22-cv-03096 Document 33 Filed on 10/17/22 in TXSD Page 2 of 3




plans to publicly disclose private and confidential information that the defendants admit they

obtained unauthorizedly; (2) their plan will interfere with Konnech’s business contracts by

destroying trust in Konnech’s business reputation; (3) the harm to Konnech outweigh and harm

the defendants might suffer if the TRO is granted; and, (4) to issue a TRO is in the public’s best

interest because the private/confidential data of the individuals could potentially be released which

release would, without doubt, harm the individuals.

                                                III.

        The Court set a hearing on Konnech’s motion for a preliminary injunction on September

26, 2022, at 11:30 a.m., Courtroom 11A. In the interim, the parties entered into a stipulation to

reset the hearing for October 6, 2022, and to continue the TRO “until the earlier of the date when:

(a) the Parties enter into an agreed Preliminary injunction that is signed by the Court; or (b) the

Court has ruled on Konnech’s Motion for preliminary injunction. See [DE 20].

        In addition to the stipulation, concerning the time for the hearing and extending its terms,

counsel for the defendant filed a “sealed” letter with the Court responding, in part, to the Court’s

TRO. The defendants refused to identify the source of its data, arguing that to do so would hinder

an FBI investigation concerning the matter, or jeopardizing “national security”.

                                                IV.

        On September 21, Konnech filed its motion to show cause and for contempt against the

defendants [DE 16]. The defendants filed a response to the motion [DE 19] and the Court received

arguments from counsel from all parties. Konnech contends that the defendants’ have failed to

comply with “subsections V, VI and VII of the TRO.” Those subsections state that the defendants

are:

        v.     ordered to identify each individual and/or organization involved in
               accessing Konnech’s protected computers;
2/3
        Case 4:22-cv-03096 Document 33 Filed on 10/17/22 in TXSD Page 3 of 3




         vi.    ordered to confidentially disclose to Konnech how, when, and by whom
                Konnech’s protected computers were accessed; and

         vii.   ordered to identify all persons and/or entities, in Defendant’s knowledge,
                who have had possession, custody or control of any information or data
                from Konnech’s protected computers.

         In response, the defendants, through counsel assert that the allegations made by Konnech

are untrue and the defendants had no problem complying with the TRO; the defendants turned

over their data and information to the FBI; the defendants believe that to turn over the name of the

individual from who they acquired their data, has significant national security and law enforcement

implications, and the defendants assert that pursuant to Title 18 U.S.C. § 798, they have a greater

duty to the United States not to make the name of the individual available to Konnech. The

defendants did not address further the Court’s TRO as it relates to subsections V, VI or VII.

                                                V.

         Based on the status of the record and the conduct of the defendants, the Court is of the

opinion that the defendants have failed and refused to comply with the TRO and ORDERS that

the defendants and their counsel appear in Courtroom 11-A on the 27th day of October, 2022, at

11:00 o’clock a.m., the United States Courthouse, 515 Rusk, Houston, Texas to show cause why

they should not be held in contempt of Court for failing to comply with the TRO entered in this

case.

         It is so ORDERED.

         SIGNED on October 17, 2022, at Houston, Texas.


                                                      _________________________________
                                                      Kenneth M. Hoyt
                                                      United States District Judge


3/3
